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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                         8:16CR331

        vs.
                                                                             ORDER
BERNARDO WILLIAMS-JAUREGUI,

                       Defendant.


        This matter is before the court on defendant's MOTION TO EXTEND DATE TO FILE
PRETRIAL MOTIONS [132]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 21-day extension. Pretrial Motions shall be filed by July 6,
2017.


        IT IS ORDERED:
        1.      Defendant's MOTION TO EXTEND DATE TO FILE PRETRIAL MOTIONS [132]
is granted. Pretrial motions shall be filed on or before July 6, 2017.
        2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and
NE. Crim. R. 12.1 forthwith.
        3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between June 15, 2017 and July 6, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 16th day of June, 2017.

                                                        BY THE COURT:

                                                        s/ Susan M. Bazis
                                                        United States Magistrate Judge
